Petition for Writ of Mandamus Dismissed and Memorandum Opinion filed
August 15, 2024.




                                      In The

                    Fourteenth Court of Appeals

                                NO. 14-24-00471-CV



                       IN RE RUTH SHAMMAS, Relator


                         ORIGINAL PROCEEDING
                           WRIT OF MANDAMUS
                              129th District Court
                             Harris County, Texas
                       Trial Court Cause No. 2023-72474

                         MEMORANDUM OPINION

      On June 27, 2024, relator Ruth Shammas filed a petition for writ of
mandamus in this Court. See Tex. Gov’t Code Ann. § 22.221; see also Tex. R.
App. P. 52. In the petition, relator asks this Court to compel the Honorable
Michael Gomez, presiding judge of the 129th District Court of Harris County, to
vacate the trial court’s April 23, 2024 order granting defendant’s motion to set
aside default judgment and for new trial.
      On June 19, 2024, relator sent a “Notice to the Court” requesting we hold
consideration of this original proceeding until her counsel has the opportunity to
supplement her petition with certified copies of the trial court’s reporter’s record
and clerk’s record. The notice did not provide a time frame for supplementation.
To date, relator has not supplemented her petition

      As the party seeking relief, relator has the burden of providing this Court
with a sufficient mandamus record to establish the relator’s right to relief. In re
French, No. 14-24-00287-CV, 2024 WL 2931075, at *1 (Tex. App.—Houston
[14th Dist.] June 11, 2024, orig. proceeding) (mem. op.) (per curiam) (citing In re
Watt, No. 05-19-00977-CV, 2019 WL 4233380, at *2 (Tex. App.—Dallas Sept.
16, 2019, orig. proceeding) (mem. op.)). Because relator has not met her burden
and her petition does not comply the Texas Rules of Appellate Procedure, we
dismiss without prejudice relator’s petition for writ of mandamus. See Tex. R.
App. P. 52.3(j), (k)(1)(A); see also 52.7(a)(1)-(2).


                                   PER CURIAM

Panel consists of Justices Wise, Bourliot, and Wilson.




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